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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES – GENERAL


Case No.        LA CR 13-00106-DOC                                                            Date:   October 6, 2022


Present: The Honorable:      DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

Interpreter       n/a
      Karlen Dubon                                     Deborah Parker                                 Christopher Brunwin
       Deputy Clerk                                Court Reporter / Recorder                          Assistant U.S. Attorney


   U.S.A. v. Defendant(s)          Present Cust    Bond                Attorneys for Defendants:             Present App        Ret

   Mongol Nation, an                X                                  Andrea Xuanlan Ales                       X              X
   Unincorporated Association                                          Joseph A. Yanny                           X              X


PROCEEDINGS:                MOTION FOR NEW TRIAL, MOTION TO DISMISS CASE;
                            OR OTHER APPROPRIATE RELIEF [535]
                            (EVIDENTIARY)


        Case is called. The Court hears last oral arguments.

        For the reasons as stated on the record, the Motion for New Trial, Motion to Dismiss Case; or Other

        Appropriate Relief [535] is DENIED by the Court.




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                                                                          Initials of Deputy Clerk         kdu




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